Filed 05/26/16                                  Case 15-14228                                             Doc 106


                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF CALIFORNIA
                                         CIVIL MINUTES


    Case Title :       Oscar Gutierrez                                  Case No : 15−14228 − B − 13
                                                                           Date : 05/26/2016
                                                                           Time : 01:30

    Matter :           [100] − Motion/Application by Cynthia A. Arroyo to Withdraw as Attorney [CAA−2] (tjof)


    Judge :            Rene Lastreto II                      Courtroom Deputy : Jennifer Dauer
    Department :       B                                             Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None



    HEARING was :




    The motion was granted. The moving party shall submit a proposed order as specified below.

    This matter was fully noticed in compliance with the Local Rules and there was no opposition. Carlos
    Garcia was served at P.O. Box 53, Orange Cove, CA, 93646. Accordingly, his default was entered and the
    motion was granted without oral argument for cause shown. The order shall state the last know address(es)
    of Carlos Garcia.
